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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION


UNITED STATES OF AMERICA

                       Plaintiff                     Case No. 3:19-cr-045 (3)

                      VS.                            HONORABLE WALTER H. RICE
Scruggs, Syreeta

                       Defendant


                       ORDER AMENDING BOND CONDITIONS


For good cause shown, the Court hereby amends the bond conditions filed in this matter on April
1, 2020 ( amended on April 27, 2020) and removes the following condition:


        I. Participate in a location restriction program and abide by all requirements of the
           program (SmartLink) .




All other bond conditions remain in full force and effect.




Date:    q ~ L '7,_ ), n
                                              HONORABLE WALTER H. RICE
                                              UNITED STATES DISTRICT COURT JUDGE
